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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

   UNITED STATES OF AMERICA                     :
                                                :
                  v.                            :       CASE NO. 21-CR- 149 (RCL)
                                                :
   CHANCE UPTMORE,                              :
                                                :
                          Defendant.            :


                                    JOINT STATUS REPORT

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, and defendant Chance Uptmore, by and through his attorney, John

Convery, now submit this joint status report, requested by the Court at the change of plea hearing

on March 31, 2022.

       1. On March 31, 20222, Chance Uptmore entered a plea of guilty to 40 U.S.C. sec.

           5104(e)(2)(G), Parading, Demonstrating and Picketing in a Capitol building.

       2. On April 11, 2011, Chance Uptmore was convicted of 18 U.S.C. sec. 922(g)(3), User

           in Possession of a Firearm, after a bench trial before the Honorable Fred Biery, federal

           District Judge for the Western District of Texas. Sentencing in that case has been set

           for 9:00 am on July 27, 2022. A bench trial was necessary in this case because the

           Government would not agree to a Conditional Plea.

       3. An expedited Pre-Sentence Report was ordered by Judge Biery, who also indicated he

           would stay any sentence imposed to allow defense to appeal the constitutionality of the

           statute of conviction.

       4. A sentencing date before Your Honor has not yet been set.

                                             Respectfully submitted,
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                           MATTHEW M. GRAVES
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                     BY:    /s/ Mona Lee M. Furst
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